             Case 2:22-cv-00860-MTL--JZB Document 45 Filed 06/03/22 Page 1 of 1



                                    DISTRICT JUDGE'S CIVIL MINUTES
                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA – PHOENIX
 U.S. District Judge: Michael T. Liburdi                            Date: June 3, 2022
 Case Number: CV-22-00860-PHX-MTL (JZB)
 Atwood v. Shinn et al

 APPEARANCES: Plaintiff(s) Counsel                                 Defendant(s) Counsel
              Amy Pickering Knight                                 Laura Patrice Chiasson
              Joseph Perkovich                                     Jeffrey Lee Sparks
              David A. Lane

 PRELIMINARY INJUNCTION HEARING:

2:04 p.m. This is the time set for Preliminary Injunction Hearing. Plaintiff Frank Atwood in present
telephonically. By stipulation of the parties, Plaintiff’s Exhibits 1-16 and Defendants’ Exhibits 50-58 are
admitted. Dr. James Ruble is sworn and examined. 3:26 p.m. Court stands at recess.

3:39 p.m. Court reconvenes. Dr. James Ruble is further examined. Witness is excused, subject to recall.
Amanda Bass is sworn and examined. Witness is excused, subject to recall. Dr. Joel Zivot, appearing
telephonically, is sworn and examined. Witness is excused, subject to recall. The parties present oral
argument.

IT IS ORDERED taking the matter under advisement.

5:59 p.m. Court Adjourned.




 Deputy Clerk: Amber Ocamb                                                           2 HR 42 Mins.
 Court Reporter: Barbara Stockford                                                   Start: 2:04 PM
                                                                                     Stop: 5:59 PM
